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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


Ashraf Khalil,
                                                   Civil Action No. 21-466-BAJ-SDJ
                 Plaintiff,
                                                   Hon. District Judge Brian A. Jackson
       v.
                                                   Hon. Magistrate Judge Scott D. Johnson
Department of Corrections, Dustin Bickham,
Patricia Williams,

                 Defendants.


                 JOINT MOTION TO AMEND THE SCHEDULING ORDER

      Plaintiff Ashraf Khalil (“Plaintiff”) and Defendants Department of Corrections, Dustin
Bickham, and Patricia Williams (“Defendants”) hereby submit this Joint Motion for Amended
Scheduling Order. As good cause, the parties state:

   1. On May 20, 2024, when Plaintiff was still pro se, the Court entered a scheduling order in
      this matter. ECF No. 22.
   2. Since the entry of appearances of counsel for Plaintiff, Plaintiff’s counsel have been
      conferring with Joshua Dara, Jr. (“Mr. Dara”), who is counsel for Defendants.
   3. Mr. Dara will enter his appearance for all properly served Defendants by May 2, 2025. For
      now, he has consented to the filing of the instant joint motion and to service of it on him
      via email at jdara@goldweems.com.
   4. Through the instant joint motion, the parties propose amending the case schedule as
      follows:
          ● All parties’ initial disclosures to be due by Monday, June 2, 2025;
          ● Defendants to provide Plaintiff all medical records, administrative remedy
             proceedings, unusual occurrence reports and all other documents pertinent to the
             issues in this case by Monday, June 2, 2025;
          ● Plaintiff may amend his complaint and/or join parties without leave of the Court by
             Monday, June 23, 2025;
          ● Defendants’ answer to the operative complaint to be due by Wednesday, July 23,
             2025;
          ● Plaintiff’s R. 26(a)(2) (Expert) Statements (if any) to be due by Monday, August
             11, 2025;




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           ● Defendants’ R. 26(a)(2) (Expert) Statements (if any) to be due by Monday, August
               18, 2025;
           ● All parties’ Post-R. 26(a) Discovery Requests to be due by Monday, September 8,
               2025;
           ● All discovery to be closed by Tuesday, October 14, 2025;
           ● Motions to compel (if any) to be due by Monday, October 20, 2025;
           ● Summary judgment motions to be due by Wednesday, November 19, 2025;
           ● Limits on the numbers of requests for discovery, requests for admission,
               interrogatories, and depositions to be governed by the Federal Rules of Civil
               Procedure, unless the parties later agree or the Court orders otherwise, whether on
               a party’s motion or sua sponte.
   5. This is the parties’ first request to the Court to propose amendments to the case schedule.
   6. Service of the summons and Plaintiff’s pro se complaint has been made on Defendant
       Department of Corrections (“DOC”) and Defendant Bickham. See Exhibit 1.
   7. Service of the summons and Plaintiff’s pro se complaint has been attempted on Defendant
       Williams, whom Plaintiff’s counsel had understood through DOC sources to now work for
       the Louisiana Division of Juvenile Justice. See Exhibit 2.
   8. Mr. Dara has since conveyed to Plaintiff’s counsel that Defendant Williams has not yet
       received service.
   9. Plaintiff’s counsel will seek a waiver of service on Defendant Williams from Mr. Dara or
       will otherwise reattempt service on Defendant Williams at the DOC headquarters and/or
       any other address that Mr. Dara confirms for Defendant Williams.
   10. While the matter of service on Defendant Williams heads toward an anticipated resolution,
       the parties jointly move the Court to enter the alternative case-schedule proposed herein,
       in the interest of moving the litigation forward.

      WHEREFORE, the parties jointly move the Court to grant the instant motion, which is
accompanied by a proposed order.

Respectfully submitted,

Dated: April 29, 2025

 /s/ Golnaz Fakhimi                                /s/ Joshua J. Dara
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